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                                  4                             IN THE UNITED STATES DISTRICT COURT

                                  5                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  7      PETER FRETWELL,                                Case No. 20-cv-08258-MMC
                                                        Plaintiff,
                                  8
                                                                                        ORDER OF DISMISSAL
                                                   v.
                                  9

                                  10     BOARD OF TRUSTEES OF THE
                                         CALIFORNIA STATE UNIVERSITY,
                                  11                    Defendant.
                                  12
Northern District of California
 United States District Court




                                  13           The parties having reached a settlement in principle at a conference conducted by
                                  14   Magistrate Judge Donna Ryu on January 24, 2022, and having stated at that proceeding
                                  15   that they anticipated finalizing a written settlement agreement within two weeks of said
                                  16   date,
                                  17           IT IS HEREBY ORDERED that plaintiff's claims alleged against defendant be
                                  18   dismissed without prejudice; provided, however, that if any party shall certify to this Court,
                                  19   within ninety days, that the agreed consideration for said settlement has not been
                                  20   delivered over, the foregoing Order shall stand vacated and this cause shall forthwith be
                                  21   restored to the calendar for further proceedings as appropriate.1
                                  22           IT IS SO ORDERED.
                                  23

                                  24   Dated: March 4, 2022
                                                                                                MAXINE M. CHESNEY
                                  25                                                            United States District Judge
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                                               Nothing herein is intended to preclude the subsequent filing of a dismissal with
                                  28   prejudice.
